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SALVADOR JIMENEZ-GARCIA, 1 …1] `; 'G.F~’J;)§\g]
GERARDO GONZALEZ-JIMENEZ, .‘.\C;.§;:L'»»\t_l’ \ ]R A

ALEJANDRO JUAN-PEREZ, JUAN
ANTONIO-MALDONADO, and
GILBERTO MORENO-MENDO,

 

Plaintiffs,
-vs- Case No. 2:01-cv-539-th-3ISPC
SORRELLS BROTHERS I’ACKING
COMPANY, INC.,
Defendants.
ORDER

Upon consideration of the Joint Motion for Assessment of Damages (Doc. 112), it is
ORDERED that the Motion is Granted. The Clerk is directed to enter Judgment for the

Plaintiffs and against the Defendant in the following arnounts:

Ruben Gomez-Ortiz $5,697.43
Gerardo Gonzalez-Jirnenez 5,758.51
Alejando Juan-Perez 6,120.96
Rafael Juan-Perez 4,61 8.44
Juan Antonio Maldonado 3,669.48
Gilberto Moreno-Mendo 5,699.20

,_¢_/

DONE and ORDERED in Chambers in Orlando, Florida this 5 day of February,

 

2004.
/</u/\/
`Ry/AW PRESNELL
Copies furnished to: UNITE(‘I}D STATES DISTRICT IUDGE
Counsel of Record
Unrepresented Party

\N<

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F I L E C O P Y

Date Printed: 02/05/2004

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2:01-cv-00539 maa

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